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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

Kerry Lee Thomas

v.                                             Case Number: 4:23−cv−00662

Keith Morris, et al.




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Peter Bray
PLACE:
by video
United States District Court
515 Rusk Ave
Houston, TX
DATE: 4/24/2025

TIME: 03:30 PM
TYPE OF PROCEEDING: Telephone Conference


Date: April 18, 2025
                                                            Nathan Ochsner, Clerk
